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                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
       v                                       )          CR. NO. 2:97-0231-ID
                                               )
JAMMY GARRETT                                  )

                                           ORDER

       Pursuant to Fed. R. Crim. P. 32.1, Jammy Garrett, an offender under supervision,

made his initial appearance on the Amended Petition For Revocation of Supervised Release

filed July 20, 2007 (Doc. 486). Upon the advice of duly appointed counsel, the defendant

elected to exercise his right to a preliminary hearing. On August 2, 2007, the Court

conducted a preliminary hearing. Accordingly, the court finds probable cause to believe

Garrett was arrested on April 24, 2007, by the Ozark Police Department on charges of

trafficking in marijuana as set forth in Violation 1. Further, the Court finds probable cause

to believe Garrett failed to indicate on monthly supervision reports his girlfriend or roommate

is a convicted felon as set forth in violation 2. Additionally, the Court finds probable cause

to believe Garret was engaged in criminal activity with another person who is a felon as set

forth in violation 3. Finally, the Court finds the violations and the circumstances surrounding

the violations indicate the release of Garrett pending a final hearing poses a clear and

convincing danger to the community.

       It is therefore ORDERED that the offender is REFERRED to Senior, United States

District Judge Ira DeMent, the sentencing judge, for a Rule 32.1(b)(2) hearing on the

probation officer’s recommendation that the defendant’s release be revoked. Pending the
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hearing, the Defendant shall be remanded to the custody of the United States Marshal.




      DONE THIS 2 nd day of August, 2007.




                                /s/ Terry F. Moorer
                                TERRY F. MOORER
                                UNITED STATES MAGISTRATE JUDGE
